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 1   Darren J. Devlin, Esq. [SBN 176261]
     THE LAW OFFICES OF JASON C. TATMAN, A.P.C.
 2   5677 Oberlin Drive, Suite 210
     San Diego, CA 92121
 3   Telephone: 760-512-1757
     Facsimile: 760-230-5876
 4   dd@nationwidereconveyance.com
     Attorneys for Secured Creditor/Moving Party
 5   First Tennessee Bank National Association
     successor thru merger with First Horizon
 6   Home Loan Corporation
 7                                UNITED STATES BANKRUPTCY COURT
 8
                    NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
 9
10                                                    Case No: 16-53422
      In re:
11                                                    Chapter 13
      JOHNNIE MIRANDA DONAHUE and
12    KENNETH ELLIOT DONAHUE,                         DC No.: DJD-001

13                     Debtors.                       MOTION FOR RELIEF FROM
                                                      AUTOMATIC STAY
14    _______________________________
                                                      Date: April 5, 2017
15    First Tennessee Bank National Association       Time: 1:00 p.m.
      successor thru merger with First Horizon        Ctrm: 3020
16    Home Loan Corporation,
                                                     The courtroom of the Honorable M. Elaine
17                     Movant,                       Hammond

18    -vs-

19    JOHNNIE MIRANDA DONAHUE and
      KENNETH ELLIOT DONAHUE, Debtors;
20    Devin Derham-Burk, Chapter 13 Trustee,

21                     Respondents.

22
23
24             Secured Creditor and Moving Party First Tennessee Bank National Association successor
25
     thru merger with First Horizon Home Loan Corporation (“Creditor”), respectfully submits its
26
     Motion for Relief from Automatic Stay to enforce its lien upon the real property of Debtors
27
     Johnnie Miranda Donahue and Kenneth Elliot Donahue (“Debtors”).
28

                                                     1
     Case: 16-53422       Doc# 25     Filed: 03/14/17 Entered: 03/14/17 13:06:03        Page 2 of 24
 1          1.      On December 5, 2016, Debtors filed a voluntary Chapter 13 petition.
 2          2.      Devin Derham-Burk is the duly qualified and acting Chapter 13 Trustee.

 3          3.      On or about December 2, 2005, Debtors executed and delivered to First Horizon

 4   Home Loan Corporation (“First Horizon”), a written Home Equity Line of Credit Agreement

 5   (“Agreement”), for value received. The current monthly payment is $2,166.32.

 6          4.      To secure repayment of the Agreement, on or about December 2, 2005, Debtors

 7   granted to First Horizon beneficial interest under a Deed of Trust (“Deed of Trust”). The Deed of
     Trust encumbers residential real property located at 45 Vista Pointe Drive, Watsonville, CA
 8
     95076 (“Property”). The Deed of Trust was recorded in the Official Records of Santa Cruz
 9
     County, California.
10
            5.      On December 10, 2016, Debtors defaulted under the terms of the Agreement by
11
     failing to make the monthly payment due on that date. Debtors have failed to make all
12
     consecutive monthly payments on the Agreement due thereafter to Creditor. Post-petition
13
     arrears now exist in the amount of $9,914.35 representing four (4) payments and attorneys’ fees.
14
     An additional payment is due on April 12, 2017, in the amount of $2,166.32. Post-petition
15
     arrears are as follows:
16
            12/10/16 payment                                            $2,761.08
17
            1/9/17 payment                                              $2,820.63
18
            2/9/17 payments                                             $2,166.32
19
            3/12/17 payment                                             $2,166.32
20          Total Arrearages                                            $9,914.35
21          6.      The principal amount due and owing to Creditor on the Agreement as of
22   December 5, 2016, is $233,329.85.
23          7.      The last payment made was October 3, 2016, which was applied to the payment
24   due February, 2016, payment.
25   ///
26   ///
27   ///

28   ///

                                                    2
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 1         WHEREFORE, Creditor prays that the automatic stay be modified as follows:
 2         A. For an Order granting Creditor immediate relief from the automatic stay to take any

 3            and all actions, including, but not limited to, foreclosure and sale, to enforce its lien

 4            on the real property located at 45 Vista Pointe Drive, Watsonville, CA 95076;

 5         B. That the requirements of Bankruptcy Rule 4001(a)(3), be waived; and

 6         C. That Creditor have such other and further relief as the Court may deem just and

 7            proper.

 8
     Dated: March 14, 2017                               Respectfully submitted,
 9
10
                                                         /s/Darren J. Devlin___________
11                                                       Darren J. Devlin, Esq.
12                                                       Attorneys for First Tennessee Bank National
                                                         Association successor thru merger with First
13                                                       Horizon Home Loan Corporation

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Case: 16-53422   Doc# 25   Filed: 03/14/17   Entered: 03/14/17 13:06:03   Page 7 of 24
 1   Darren J. Devlin, Esq. [SBN 176261]
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     San Diego, CA 92121
 3   Telephone: 760-512-1757
     Facsimile: 760-230-5876
 4   dd@nationwidereconveyance.com
     Attorneys for Secured Creditor/Moving Party
 5   First Tennessee Bank National Association
     successor thru merger with First Horizon
 6   Home Loan Corporation
 7                                UNITED STATES BANKRUPTCY COURT
 8
                    NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
 9
10                                                       Case No: 16-53422
      In re:
11                                                       Chapter 13
      JOHNNIE MIRANDA DONAHUE and
12    KENNETH ELLIOT DONAHUE,                            DC No.: DJD-001

13                     Debtors.                          EXHIBITS 1-2 IN SUPPORT OF MOTION
                                                         FOR RELIEF FROM AUTOMATIC STAY
14    _______________________________
                                                         Date: April 5, 2017
15    First Tennessee Bank National Association          Time: 1:00 p.m.
      successor thru merger with First Horizon           Ctrm: 3020
16    Home Loan Corporation,
                                                        The courtroom of the Honorable M. Elaine
17                     Movant,                          Hammond

18    -vs-

19    JOHNNIE MIRANDA DONAHUE and
      KENNETH ELLIOT DONAHUE, Debtors;
20    Devin Derham-Burk, Chapter 13 Trustee,

21                     Respondents.

22
23
24             Exhibit No. 1—Home Equity Line of Credit Agreement, pgs 2-6; and
25             Exhibit No. 2—Deed of Trust, pgs 7-15;
26
27
28

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                                         24
 1   Darren J. Devlin, Esq. [SBN 176261]
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 4   dd@nationwidereconveyance.com
     Attorneys for Secured Creditor/Moving Party
 5   First Tennessee Bank National Association
     successor thru merger with First Horizon
 6   Home Loan Corporation
 7                                UNITED STATES BANKRUPTCY COURT
 8
                    NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
 9
10                                                     Case No: 16-53422
      In re:
11                                                     Chapter 13
      JOHNNIE MIRANDA DONAHUE and
12    KENNETH ELLIOT DONAHUE,                          DC No.: DJD-001

13                     Debtors.                        PROOF OF SERVICE

14    _______________________________                  Date: April 5, 2017
                                                       Time: 1:00 p.m.
15    First Tennessee Bank National Association        Ctrm: 3020
      successor thru merger with First Horizon
16    Home Loan Corporation,                    The courtroom of the Honorable M. Elaine
                                                Hammond
17                  Movant,

18    -vs-

19    JOHNNIE MIRANDA DONAHUE and
      KENNETH ELLIOT DONAHUE, Debtors;
20    Devin Derham-Burk, Chapter 13 Trustee,

21                     Respondents.

22
23
24             I, Darren J. Devlin, declare: I am employed in the county of San Diego, California. My
25
     business address is 5677 Oberlin Drive, Suite 210, San Diego, CA 92121. I am over the age of
26
     eighteen and not a party to this action.
27
28

                                                     1
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                                                     24
 1           On March 14, 2017, I served the Motion for Relief from Automatic Stay with supporting

 2   documents in said cause by placing a true and correct copy thereof enclosed in a sealed envelope
 3
     with postage thereon fully prepaid in the United States Mail at Encinitas, California, addressed as
 4
     follows:
 5
             The U.S. Trustee will be served by the Court via Notice of Electronic Filing (“NEF”),
 6
 7   email, with corresponding hyperlink(s) to the documents via the PACER system. The

 8   transmission of the NEF shall constitute effective service in accordance with BLR 9013-3(c) and

 9   9022-1(b). The U.S. Trustee is a registered participant in the Court’s electronic filing system and
10
     has consented to electronic service.
11
             I declare under penalty of perjury that the foregoing is true and correct and that this
12
     Declaration was executed on March 14, 2017, at Encinitas, California.
13
14                                                                 /s/Darren J. Devlin_

15
             Johnnie Miranda Donahue and Kenneth Elliot Donahue, 45 Vista Pointe Drive,
16
     Watsonville, CA 95076
17
             Aaron Lipton, 7960 B Soquel Dr. #156, Aptos, CA 95003
18
             Devin Derham-Burk, P.O. Box 50013, San Jose, CA 95150
19
             Honorable M. Elaine Hammond, 280 South First Street, Room 3035, San Jose, CA
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     95113
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                                                     24
